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                         UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF PUERTO RICO

                                         Minute Entry

 Hearing Information:

 Debtor: ALEXIS RAMIREZ ROSADO
 Case Number: 23-01428-MCF11                           Chapter:11
 Date / Time / Room: 06/27/2023 1:30 PM
 Bankruptcy Judge: MILDRED CABAN FLORES
 Courtroom Clerk: ED BUJOSA
 Reporter / ECR: JOSE ROMO

 Matter:

 DEBTOR'S MOTION FOR CONTINUANCE OF THE AUTOMATIC STAY (DKT #12)

 MOTION TO DISMISS CASE WITH BAR TO RE-FILE AND OPPOSITION FOR
 CONTINUANCE OF THE AUTOMATIC STAY FILED BY BANCO POPULAR DE
 PUERTO RICO (DKT #20)

 Appearances:

 Anibal Medina Rios on behalf of Debtor
 Kevin Rivera Medina on behalf of Banco Popular de Puerto Rico

 Minutes of Proceedings:

 ORDER:

 For the reasons stated in open court, the Debtor’s motion for continuance of the automatic stay
 (Docket No. 12) is denied. The motion to dismiss filed by Banco Popular de Puerto Rico (Docket
 No. 20) is granted with a bar to re-file of one (1) year.

 /s/MILDRED CABAN FLORES
 U.S. Bankruptcy Judge
